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AO 9% (Rey. 5/85} Criminal Complaint

Epprited States District Court _¢- 2206

S, District Court
Western District of Texas — San Antonio ‘ Western District of Texas
By
UNITED STATES OF AMERICA Deputy
V. CRIMINAL. COMPLAINT
STEVEN LYNN MOUTON

 

 

CASE NUMBER: SA~08-324M (1)

|, the undersigned complainant being duly sworn state the following is true and correct to the best of my

Knowledge and belief. Between 4/1/06 and 10/18/07 in Kendall county, in the
Western District of Texas defendant(s) did, (Track Statutory Language of Offense)

Knowing use, persuade, induce, entice, and coerce a minor to engage in sexually explicit conduct for the purpose of
producing a visual depiction of such conduct, wherein such visual depiction was produced using materials that have
been mailed, shipped and transported in interstate and foreign commerce, and such visual depiction has actually been
transported in interstate and foreign commerce,

In violation of Title 18 United States Code, Section(s) 2251(a)

| further state that | am a Special Agent And that this complaint is based on the following
Official Title

facts:

SEE ATTACHED FACTS

Continued on the attached sheet and made a part hereof: “Re No
2 S (

Signature of Gomplainant

Sworn to before me and subscribed in my presence,

 

 

APRIL 8, 2008 At San Antonio, Texas
Date City and State
Pamela A. Mathy, U.S. Magistrate Judge \Z

 

Name & Title of Judicial Officer Signature of Judicial Officer \
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CONTINUATION OF CRIMINAL PLAIN®Y ON: Steven Lynn Mouto

Affidavit

1. 1, LARRY BAKER, being duly sworn, do hereby depose and state as follows:

2. |, LARRY BAKER, have been employed as a Special Agent with the Federal Bureau of Investigation
(FBI) since January 1999. | have participated in a number of investigations of violations of federal
criminal laws during my career as a Special Agent of the FBI. The following affidavit is submitted in
support of a criminal complaint.

3. The following information is derived from my personal observations, as well as the review of
reports of, and discussions with, other officers and individuals who have personal knowledge of the
matters covered in those reports and discussions, and from conversations with persons, further
identified below, who have personal knowledge of the events described herein.

4, On April 2, 2008, Affiant was contacted by Deputy Sheriff Investigator Kendall Gebauer
(Gebauer) of the Kendall County, Texas, Sheriff's Office (KCSO), requesting investigative assistance
related to a KCSO investigation of a male named Steven Lynn Mouton (Mouton), date of birth
September 01,1952, Social Security Account Number XXX-XX-XXXX.

5, On April 3, 2008, Affiant met with Gebauer and was provided the following information: .

a. In 2003, a minor female, born in 1996, a resident of Midland, Texas, referred to in this
affidavit as CV1, provided information to law enforcement entities that Mouton had touched her
vaginal area with his hands in a sexual manner while CV1 was bathing. CV1 also advised that
Mouton had touched the vaginal area of a minor female, born in 1995, referred to in this affidavit as
CV2, during this same incident. Mouton was subsequently arrested by the KCSO on or about
December 9, 2003, and charged with Indecency with a Child. KCSO's investigation revealed that the
referenced incident between Mouton and CV1 and CV2 occurred at Mouton's residence, located at
219 North Street, Boerne, Texas, on or about June 2003. During the course of the investigation, an
adult female relative of Mouton's informed law enforcement entities that Mouton had sexually
assaulted her as a minor. Mouton pled to this charge and received a sentence of 10 years probation
on or about March 31, 2006. A condition of Mouton's sentence was that Mouton not have contact,
or reside, with children.

b. On or about October 18, 2007, Gebauer accompanied Texas Probation Officers Brooke
Davis and David Gonzales to Mouton's residence, located at 18 Crystal Circle, Boerne, Texas, after
receiving information from a Boerne, Texas, resident that Gebauer had been observed on numerous
occasions in his neighborhood with CV2.

   

 

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onzales examined two computers in this residence that Mouton advised he utilized. On one of the
computers, Officer Gonzales observed an image of a female, believed to be under the age of 18, lying
prone in a lewd position, naked from the waist down. The focal point of the image was the genital
area of the female. Gebauer examined the image and ascertained that the female depicted in the
image matched CV2's body size, skin color, build and hair color. The female depicted in the image
was also wearing a shirt consistent with known images of CV2 found on this same computer.

. c. Gebauer obtained voluntary consent from Mouton for the search of Mouton's Acer Aspire
5610 laptop computer, model# BI50, serial# 3945ABG, and Mouton's Dell Dimension XPST800
computer, serial# 8WH910B. A search warrant was subsequently obtained bv Gehauer an Netaher
 

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29, 200%; ‘fo. the contents of these computgis. These computers were forensically examined by the
San Antonio, Texas, Police Department (SAF). Results of these examinations were provided to
Gebauer on or about April 2, 2008.

d. Gebauer evaluated images recovered from these computers and provided to him by SAPD
and subsequently determined that numerous images recovered from one of the computers depict CV:
in a nude state or engaged in sexually explicit conduct. One of images depict a hand consistent with
that of an adult male digitally penetrating the vagina of a female whose physical characteristics and
distinguishing body marks are consistent with CV2. An additional image depicts an adult male's
penis penetrating the vagina of a female whose physical characteristics and distinguishing body mark:
are consistent with CV2.

   
 

6. Affiant has reviewed the above-referenced images provided to Affiant by Gebauer. Affiant has
determined that a number of these images depict CV2 in a nude state or engaged in sexually explicit
conduct. The focal point of a number of the images is CV'2 exposed vaginal area and/or anus.

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Larry Baker
Special Agent
FBI

Subscribed and sworn to before me this 8° day of April, 2008.

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The Honorable Pamela Mathy!
United States Magistrate Judge
